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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                       MDL NO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION


THIS DOCUMENT RELATES TO:                            CIVIL ACTION: 01-CV-12257-PBS

BMS SETTLEMENT, AND                                  Judge Patti B. Saris
TRACK TWO SETTLEMENT,



    DECLARATION OF CYNTHIA S. WEIGEL, BUCCANEER COMPUTER
                  SYSTEMS AND SERVICE, INC.
          REGARDING STATUS OF PRODUCTION OF DATA


I, Cynthia S. Weigel, being duly sworn, herby declare as follows:


   1.      I am the Health Informatics Manager at Buccaneer Computer Systems and
           Service, Inc., a Vangent Company (“Buccaneer”). My business address is
           1401 50th Street, Suite 200, West Des Moines, Iowa.

   2.      I submit this declaration in connection with Class Counsel’s Status Report
           related to the BMS and Track Two Settlements in the above-referenced
           matter.

   3.      In accordance with the Court’s November 29, 2010 Order For Final
           Consideration of the BMS Settlement as well as the November 30, 2010 Order
           for Final Consideration of the Track Two Settlement, Buccaneer has been
           diligently processing the request for electronic data sufficient to identify all
           transaction information for individuals for whom CMS reimbursed for the
           specific drugs involved in these settlements. Buccaneer has devoted all
           available resources to finalizing this data request. At the time of the court
           hearing on November 19, 2010, Buccaneer was not fully cognizant of the
           magnitude of the request and its size and complexity. After the hearing, the
           applicable database was queried to determine the output volume for this
           cohort. The query revealed that the high volume of data would require
           excessive processing. In order to optimize efficiencies, Buccaneer has
           suspended normal operations so that demand on the database is not over-
           extended. In addition, to maintain database processing capacity, other
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           researcher requests for data have been put on hold and the loading of new data
           to the database is also on hold.

   4.      Although we have been unable to provide complete data in response to the
           requests, on December 13, 2010 Buccaneer delivered a complete name and
           address file to Class Counsel containing the names and addresses of all
           consumer for whom CMS made a reimbursement associated with one or more
           drugs in both the BMS and Track Two settlements. In addition, that file
           contained information concerning the drug administration associated with
           each consumer.

   5.      On December 14, 2010, Buccaneer delivered additional claims-level data for
           approximately 25% of the total number of individuals identified in the name
           and address file.

   6.      Additional claims-level data remains to be produced, and Buccaneer is
           diligently working to provide it. Buccaneer anticipates delivering another
           25% of the claims data on or before December 22, 2010. As the processing of
           additional data is available, it will be produced to Class Counsel on a rolling
           basis. Barring any unforeseen technical difficulties, all of the requested
           claims level data will be complete no later than January 15, 2011.


I declare under pains and penalty of perjury that the foregoing is true and correct. If
called as a witness, I could and would competently testify thereto.

                                                      /s/ Cynthia S. Weigel
Dated: December 17, 2010                             _________________________
                                                     Cynthia S. Weigel
